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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                             _____________________________


UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 1:09:CR:185-04
v.
                                                           HON. GORDON J. QUIST
CLARENCE RAY BONDS,

            Defendant.
_____________________________/


                                      MEMORANDUM

       Defendant Clarence Ray Bonds has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug quantity, and

U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November 1, 2014.

U.S.S.G. § 1B1.10(c).

       However, the defendant is not eligible for a sentence modification because the mandatory

minimum sentence of 120 months was imposed. No lower sentence is statutorily available.

Accordingly, Defendant Clarence Ray Bond’s motion for modification of sentence pursuant to 18

U.S.C. § 3582(c)(2) (docket no. 178) will be denied in a separate Order.


Dated: November 5, 2015                                   /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
